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                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *

v.                                              *     Criminal No.: RDB-19-020

PAUL ALEXANDER                                  *

       Defendant                                *

*      *        *      *       *       *        *     *      *       *       *       *

                         DEFENDANT’S PRETRIAL MOTIONS AND
                         INCORPORATED MEMORANDA OF LAW

       NOW COMES Paul Alexander, through his attorney, Russell A. Neverdon, Sr., of the

Law Office of Russell A. Neverdon, and moves this Court with respect to the following

miscellaneous discovery and other matters:

       1.       Rule 12(b)(4)(B) Designation;

       2.       Early Disclosure of Jencks Act Material;

       3.       Leave to File Additional Motions

       1. RULE 12(b)(4)(B)) DESIGNATION

       Defendant, Paul Alexander, asks this Court to require the government, pursuant to Rule

12(b)(4)(B) of the Federal Rules of Criminal Procedure, to designate all evidence discoverable

under Rule 16 of the Federal Rules of Criminal Procedure that it will use in its case in chief. This

request is made to permit the defense to raise such pretrial motions in limine as are appropriate,

prepare for trial, and avoid unjust surprise.

       Here, the government has generally informed the defendant of the type of evidence that it

may introduce at trial, but it has not shown the defendant where this evidence may come from, and

it has not expressly indicated what documents it intends to offer at trial. That should be required.
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See United States v. Poindexter, 727 F. Supp. 1470, 1484 (D.D.C. 1989) (the government's

identiﬁcation of "several thousand pages, any of which it ‘may' rely on at trial," held to be an

insufﬁcient "broad brush approach").

        2. EARLY DISCLOSURE OF JENCKS ACT MATERIAL

        Defendant asks this Court to order the disclosure of statements required to be provided

pursuant to Rule 26.2 of the Federal Rules of Criminal Procedure and 18 U.S.C. § 3500 (the Jencks

Act) at least thirty days prior to trial.

        Jencks material is traditionally withheld to prevent the government's prospective witnesses

from being harassed or endangered once disclosure is made. In the event that the government

asserts that the early disclosure of Jencks would present witness safety issues, the Court can fashion

protective relief to limit the disclosure of the material, without impacting the ability of counsel to

review the information that is so desperately needed in order to adequately prepare for trial.

        3.      LEAVE TO FILE ADDITIONAL MOTIONS

        Defendant also asks this Court to enter an Order allowing him to ﬁle such additional

motions as the future progression of this case may merit, as discovery is still being received in this

matter as of June 12, 2019.

        Undersigned counsel anticipates that the government cannot represent that the pending

Jencks material does not contain Brady material. In light of the nondisclosure of this information,

counsel for Mr. Alexander asserts that the government has not produced its exculpatory or

impeaching evidence under Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States,

404 U.S. 140 (1972). The government has also not produced its Rule 404(b) evidence, co-

conspirator statements, or Jencks Act material. Once this information has been received, it is quite




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likely that motions in limine and motions challenging the admissibility of certain evidence will

need to be ﬁled.



                                        CONCLUSION

       For all the foregoing reasons, this Court should grant the requests contained in this omnibus

motion.


                                             Respectfully submitted,


                                             ____________/s/________________
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                                             Attorney for the Defendant




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of June, 2019, a copy of the foregoing Pretrial

Motions and Incorporated Memorandum of Law was filed electronically and e-mailed to all

counsel in the above captioned matter by ECF filing.



                                             ____________/s/________________
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